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                 EXHIBIT A
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From: Saira Haider <saira.haider@therabodycorp.com>
Sent: Wednesday, December 15, 2021 1:36 PM
To: cservice@homedics.com; John M. Halan <jhalan@brookskushman.com>; Tom W. Cunningham
<tcunningham@brookskushman.com>
Cc: Patents <Patents@therabodycorp.com>
Subject: DEMAND TO CEASE INFRINGEMENT OF THERABODY(R) UTILITY PATENTS AND DESIGN PATENTS


VIA EMAIL

File No.: HOMEDICS-21

DEMAND TO CEASE INFRINGEMENT OF THERABODY® UTILITY PATENTS AND DESIGN PATENTS
AND TRADE DRESS

To Whom It May Concern:

Therabody International Limited, Therabody, Inc., and its affiliates (collectively, “Therabody”) expend
considerable time, effort and money in researching, developing and protecting its intellectual property. In this
regard, Therabody owns unique utility patents and design patents directed to percussive massage devices and
attachments for its percussive massage devices.

I. INFRINGEMENT OF UTILITY PATENTS AND DESIGN PATENTS

Therabody’s patents and design registrations directed to percussive massage devices and attachments for its
percussive massage devices include U.S. Patent Nos. 10,702,448, 10,857,064, 11,160,722, D849,260,
including but not limited to the patents and design registrations listed under “Patents and Design Registrations”
on www.therabody.com and www.theragun.com (collectively, “Percussive Massage Patents”).

It has recently come to our attention that HOMEDICS and/or its affiliates (collectively, “You” or “Your”) are
manufacturing, using, offering to sell, importing and/or selling percussive massage devices at
www.HOMEDICS.COM which appears to infringes one or more of the the Percussive Massage Patents. The
infringing percussive massage devices and attachments are shown in the below EXHIBIT A and are referred to
by You, in one instance, as the “Therapist Select DuoTemp Pro Percussion Massager” (collectively, the
“Infringing Device”).

Under the patent laws of most countries, including the U.S., whoever, without authority, makes, uses, sells,
and/or imports any patented invention is an infringer. In addition, a patent owner may obtain injunctive relief
against infringers, and under U.S. laws, may recover up to three times the amount of money damages found
adequate to compensate for the infringement and the infringer’s profits. In exceptional cases, under U.S. laws,
the patent owner is entitled to recover attorneys’ fees in patent enforcement proceedings.
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Therabody has not licensed any of its Percussive Massage Patents to You. Accordingly, Your making, offering
for sale, using, importing, and/or sale of the Infringing Devices constitutes infringement of the Percussive
Massage Patents.

II. INFRINGEMENT OF TRADE DRESS

Therabody’s protectable trade dress includes the design of its percussive massage device and use of a
distinctive blue color in presenting its trademarks, in its marketing and advertising, and on its percussive
massage devices, as the images below show. As a result of the use of its distinctive blue color, Therabody
has developed trade dress rights in the blue color as applied to its percussive massage devices and
packaging, including as shown in the images below (collectively, the “Trade Dress”). The Trade Dress is
uniquely associated with Therabody and its percussive massage devices and packaging and is relied on by the
public as an indicator of the origin and quality of Therabody’s percussive massage devices and packaging.




It has recently come to our attention that You are using a trade dress that is confusingly similar to Therabody’s
Trade Dress with Your Infringing Device shown in the attached EXHIBIT A (collectively, “Infringing Trade
Dress”). Your use of the Infringing Trade Dress, or other similar trade dress, is likely to cause confusion, to
cause mistake, or to deceive consumers as to:
(i) the origin of Your Infringing Device;
(ii) the existence of a relationship or affiliation, license, sponsorship, or endorsement between You and
Therabody; and/or
(iii) the belief that Your products are licensed, sponsored, or endorsed by Therabody.
There is no relationship or affiliation, license, sponsorship, or endorsement between Therabody and You as it
relates to Therabody’s Trade Dress and Your Infringing Trade Dress.

Under U.S. law, a trade dress owner may recover an infringer’s profits from the infringing conduct or up to
three times its actual damages, and, in exceptional cases, may recover attorneys’ fees in trade dress
enforcement proceedings. Your continued use of the Infringing Trade Dress and any trade dress nearly
identical to Therabody’s Trade Dress is likely to cause irreparable injury and significant damage to
Therabody. Accordingly, Your conduct constitutes infringement of Therabody’s exclusive rights in its Trade
Dress.

III. DEMAND TO CEASE & DESIST INFRINGEMENT

Therabody has not licensed any of its Percussive Massage Patents or Therabody's Trade Dress to You.
Accordingly, Your making, offering for sale, using, importing, and/or sale of the Infringing Devices constitutes
infringement of the Percussive Massage Patents and Therabody's Trade Dress.

Accordingly, we demand that You immediately:

1. Cease and permanently discontinue all manufacture, offer for sale, sale, use and/or importation of the
Infringing Devices, including any and all infringing percussive massage devices;

2. Voluntarily surrender Your entire inventory of the Infringing Devices, including any and all infringing
percussive massage devices;

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3. Provide all advertising, order forms and promotional materials that refer to or show the Infringing Devices,
including any and all infringing percussive massage devices;

4. Advise us in writing within 3 calendar days of the date of this letter of Your compliance with the foregoing
and furnish us with the following information for each product that infringes on Therabody Percussive Massage
Patents and Therabody's Trade Dress:

(a) The number of items manufactured, sold, used and/or imported, and the sales price, the cost, the number
in inventory, the number in transit and the number on order of such items.

(b) The source and/or supplier of the product being sold or previously sold; including the name, address,
telephone number, email addresses and contact persons of each source and supplier.

(c) The names, addresses, telephone numbers, email addresses and contact persons of each and every
customer.

(d) The names and addresses of any affiliated company or business.

We consider Your conduct to be a serious violation of our rights and to be very damaging to our
business and its reputation. Please take notice that if we do not receive appropriate written
assurances from You within 3 calendar days of the date of this letter, we will have no choice but to
seek all appropriate legal remedies available in law or equity to ensure that all infringing actions have
ceased.

This letter is made for compromise purposes only and shall not be admissible for any purpose in any legal
proceeding. Nothing in this letter shall be construed as a waiver of any right or remedy possessed by
Therabody or any other affected party, all of which are expressly reserved.

Regards,

Saira B. Haider
Sr. Counsel, Intellectual Property & Commercial Transactions
Therabody, Inc.

CC: Benjamin Nazarian
Jonathan Feldman, Esq.

EXHIBIT A:




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